  Case 16-36186      Doc 28     Filed 07/31/19 Entered 07/31/19 19:31:47          Desc Main
                                  Document     Page 1 of 5


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE:                                        )   BANKRUPTCY CASE
                                              )
WILLIAM D. POWERS,                            )   NO.: 16-36186-PSH
                                              )
         Debtor.                              )   CHAPTER 13
                                              )
                                              )   JUDGE: PAMELA S. HOLLIS
                                              )   (Joliet)

                                   NOTICE OF MOTION

TO: SEE ATTACHED ADDRESSES

       PLEASE TAKE NOTICE THAT ON August 9, 2019 at 10:45 am, or as soon thereafter
as counsel may be heard, I shall appear before the Honorable Pamela S. Hollis, U.S. Bankruptcy
Judge, 150 West Jefferson Street, 2nd Fl, 644, Joliet, Illinois 60432, and shall then and there
present the attached Motion and at which time you may appear if you so desire.

                                     CERTIFICATION

       I, the undersigned Attorney, Certify that I served a copy of this Notice to the Addresses
attached by electronic notice through ECF or by depositing the same at the U.S. Mail at 1 North
Dearborn, Chicago, Illinois 60602 at 5:00 P.M. on July 31, 2019, with proper postage prepaid.

                                                     McCalla Raymer Leibert Pierce, LLC

                                                     /s/Kinnera Bhoopal
                                                     Kinnera Bhoopal
                                                     ARDC# 6295897
                                                     1 N. Dearborn Suite 1200
                                                     Chicago, IL 60602
                                                     (312) 346-9088



   This is an attempt to collect a debt and any information obtained will be used for that
                                           purpose.
  Case 16-36186       Doc 28     Filed 07/31/19 Entered 07/31/19 19:31:47      Desc Main
                                   Document     Page 2 of 5


                               NOTICE OF MOTION ADDRESSES

To Trustee:                                             by Electronic Notice through ECF
Glenn B Stearns
801 Warrenville Road Suite 650
Lisle, IL 60532

To Debtor:                                              Served via U.S. Mail
William D. Powers
815 Cora Street
Joliet, Il 60435

To Co-Debtor:                                           Served via U.S. Mail
Veronica Powers
815 Cora St
Joliet, IL 60435

To Attorney:                                            by Electronic Notice through ECF
David M Siegel
David M. Siegel & Associates
790 Chaddick Drive
Wheeling, IL 60090

McCalla Raymer Leibert Pierce, LLC
Attorney For: Creditor
1 N. Dearborn Suite 1200
Chicago, IL 60602
(312) 346-9088
  Case 16-36186        Doc 28     Filed 07/31/19 Entered 07/31/19 19:31:47          Desc Main
                                    Document     Page 3 of 5



                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE:                                           )   BANKRUPTCY CASE
                                                 )
WILLIAM D. POWERS,                               )   NO.: 16-36186-PSH
                                                 )
         Debtor.                                 )   CHAPTER 13
                                                 )
                                                 )   JUDGE: PAMELA S. HOLLIS
                                                 )   (Joliet)


   MOTION TO MODIFY THE AUTOMATIC STAY AND CO-DEBTOR
                          STAY

         NOW COMES Freedom Mortgage Corporation by and through its attorneys, McCalla

Raymer Leibert Pierce, LLC, and requests that the Automatic Stay and Co-Debtor Stay

heretofore entered on the property located at 815 Cora St, Joliet, Illinois 60435 be Modified

stating as follows:

    1.      On November 14, 2016, the above captioned Chapter 13 was filed.

   2.       On January 13, 2017, the above captioned Chapter 13 was confirmed.

   3.       Freedom Mortgage Corporation services the first mortgage lien on the property

            located at 815 Cora St, Joliet, Illinois 60435.

   4.       The Plan calls for the Debtor to be the disbursing agent for the post-petition mortgage

            payments directly to Freedom Mortgage Corporation. Post-petition payments are

            $831.72.

   5.       The post-petition mortgage payments are due and owing for May 1, 2019. The

            default to Freedom Mortgage Corporation is approximately $2,445.14 through July

            2019, including a suspense balance of $50.02. Another payment will come due on
Case 16-36186     Doc 28     Filed 07/31/19 Entered 07/31/19 19:31:47           Desc Main
                               Document     Page 4 of 5


       August 1, 2019 in the amount of $831.72.

 6.    Attorney’s fees and costs for this motion are due in the amount of $1,031.00.

 7.    The plan is in material default.

 8.    Freedom Mortgage Corporation also seeks to modify the stay as to co-debtor

       Veronica Powers pursuant to 11 U.S.C. §1301(a).

 9.    Freedom Mortgage Corporation continues to be injured each day it remains bound by

       the Automatic Stay.

 10.   Freedom Mortgage Corporation is not adequately protected.

 11.   The property located at 815 Cora St, Joliet, Illinois 60435 is not necessary for the

       Debtor's reorganization.

 12.   The Debtor has no equity in the property for the benefit of unsecured creditors.

 13.   No cause exists to delay the enforcement and implementation of relief and

       Bankruptcy Rule 4001(A)(3) should be waived.
  Case 16-36186       Doc 28     Filed 07/31/19 Entered 07/31/19 19:31:47         Desc Main
                                   Document     Page 5 of 5


       WHEREFORE, YOUR MOVANT respectfully prays that the Automatic Stay and Co-

Debtor Stay on the property located at 815 Cora St, Joliet, Illinois 60435, be modified and that

Bankruptcy Rule 4001(a)(3) be waived as not applicable, and leave be granted to Freedom

Mortgage Corporation to proceed with non-bankruptcy remedies including foreclosure, and for

such other and further relief as this Honorable Court deems just.



                                                     McCalla Raymer Leibert Pierce, LLC

                                          By:        /s/Kinnera Bhoopal
                                                     Kinnera Bhoopal
                                                     Bar No. 6295897
                                                     Attorney for Creditor
                                                     1 N. Dearborn Suite 1200
                                                     Chicago, IL 60602
                                                     Phone: (312) 346-9088
                                                     Fax: (312) 551-4400
                                                     Email: ILpleadings@mrpllc.com
